                       Case 5:18-cr-50089-JLV Document 4 Filed 08/03/18 Page 1 of 1 PageID #: 32
AO 442 (Rev. 11/11) Arrest Warrant




                                          United States District Court
                                                                     for the

                                                          District of South Dakota
                                                              Western Division


                 United States of America                                       Case No. 5;18-mj- \02.
                                  V.




                  BRITTANY BABIUK


                              Defendant


                                                       ARREST WARRANT
 To:       Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name ofperson to be arrested)              "Bri-N-iSiny                                                                                  ,
 who is accused of an offense or violation based on the following document filed with the court:

 n Indictment             ' Superseding Indictment           'Information         'Superseding Information                '^Complaint
 D Probation Violation Petition            ' Supervised Release Violation Petition           'Violation Notice          ' Order ofthe Court

 This offense is briefly described as follows:
    On or about [date], 2017, near [town], in the District of South Dakota, the defendant,[name],[offense conduct], all in violation of.



 Date:
                                                                                               Issuing ojficer's signature


 City and state: Rapid City. SD                                                           Daneta Wollmann. U.S. Magistrate Judge
                                                                                               Printed name and title



                                                                    Return


           This warrant was received on (date)                           .and the person was arrested on (date)
 at (ritv and state)




 Date:
                                                                                              Arresting officer's signature



                                                                                                 Printed name and title
